     Case 3:14-cr-00007-REP Document 43 Filed 11/05/20 Page 1 of 3 PageID# 292




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division



UNITED STATES OF AMERICA


V.                                                Criminal No. 3:14CR07

CHARLES D. BOOKER




                              MEMORANDUM OPINION


        On May 15, 2014, the Court sentenced Charles D. Booker to 262

months of imprisonment for conspiracy to distribute and possess

with intent to distribute one kilogram or more of heroin.                  (ECF

Nos. 31, 33.)        On August 17, 2020, Booker filed "Petitioner[']s

motion for Relief of judgment or order pursuant to Rules) 60(b)(3)

and (6) as well as (d)(3)," ("Rule 60 Motion," ECF No. 42).                 In

his     Rule   60   Motion,   Booker   contends    that,   inter   alia,   the

Government committed fraud on the Court and he should be released

from confinement.       (Id. at 26.)

        The Federal Rules of Civil Procedure do not apply in criminal

cases such as Booker's.          Fed. R. Civ. P. l ("These rules govern

the procedure in all civil actions and proceedings in the United

States district courts . . . .") (emphasis added); s^ United
States V. Goodwyn, 596 F.3d 233, 235 n.* (4th Cir. 2010) ("Of

course, the Federal Rules of Civil Procedure do not apply to

motions under § 3582.          This is so because § 3582 motions-which

seek only to alter terms of imprisonment-are criminal in nature."
Case 3:14-cr-00007-REP Document 43 Filed 11/05/20 Page 2 of 3 PageID# 293
Case 3:14-cr-00007-REP Document 43 Filed 11/05/20 Page 3 of 3 PageID# 294
